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              Exhibit A
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                                                                                                        USOO86954.86B2


(12) United States Patent                                                            (10) Patent No.:                    US 8,695.486 B2
        B0dum                                                                        (45) Date of Patent:                           Apr. 15, 2014
(54) PLUNGER-FILTER BEVERAGE-MAKING                                             (56)                     References Cited
        MACHINE WITH ACLOSABLE POURING
        OPENING                                                                                   U.S. PATENT DOCUMENTS
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(75) Inventor: Jorgen Bodium, Meggen (CH)                                              6,079,316 A         6/2000 Barden et al.
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(73) Assignee: Pi-Design AG. Triengen (CH)                                             6.422, 133 B1   7/2002 Brady
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(*) Notice:           Subject to any disclaimer, the term of this                      7,578,231 B2 *      8/2009 Liu ................................. 99.297
                      patent is extended or adjusted under 35                    2003/0226859 A1         12/2003 Takagawa
                      U.S.C. 154(b) by 380 days.                                 2006, 0021524 A1          2/2006 Liu

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(21) Appl. No.:              12/997,202
                                                                                CA                2255 790 A1           7, 1999
(22) PCT Filed:              May 8, 2009                                        DE                  540 273 C           3, 1935
                                                                                DE               296 11746 U1          11, 1997
                                                                                EP                123O882 A2            8, 2002
(86). PCT No.:               PCT/CH2009/000152
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        (2), (4) Date:       Dec. 9, 2010                                       Japan Office Action dated Mar. 19, 2013 issued in Japanese Appli
                                                                                cation No. 2011-5 12800.
(87) PCT Pub. No.: WO2009/149568                                                                    (Continued)
        PCT Pub. Date: Dec. 17, 2009                                            Primary Examiner — Henry Yuen
                                                                                Assistant Examiner — Thomas Ward
(65)                      Prior Publication Data                                (74) Attorney, Agent, or Firm — Sughrue Mion, PLLC
        US 2011 FOO88561 A1               Apr. 21, 2011                         (57)                        ABSTRACT
                                                                                The invention discloses a plunger-filter beverage-making
(30)               Foreign Application Priority Data                            machine with a lid which can be closed by a valve. The
                                                                                beverage-making machine has a vessel (2), a lid (3) and a filter
   Jun. 10, 2008         (CH) ....................................... O874f08   piston (4) which can be vertically displaced in the vessel and
                                                                                has a piston rod (41). The lid (3) contains a pouring opening
(51) Int. Cl.                                                                   (37) which can be closed by means of an elongate lever (33)
        A473/20                       (2006.01)                                 which extends transverse to the piston rod. To this end, the
        A473/06                       (2006.01)                                 lever is mounted on the lid such that it can pivot about a
                                                                                horizontal axis. The lever has, in the region of its front end, a
(52) U.S. Cl.                                                                   closure body (36) in order to close the pouring opening and,
        USPC ............................................... 99/297: 99/298     in the region of its rear end, an operating region (331) in order
(58) Field of Classification Search                                             to pivot the lever by virtue of pressure exerted by a finger of a
        None                                                                    USC.

        See application file for complete search history.                                         22 Claims, 4 Drawing Sheets
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                                                        F.G. 1
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                                                                          F.G. 6
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                                                      US 8,695,486 B2
                               1.                                                                     2
      PLUNGER-FILTER BEVERAGE-MAKING                                    This object is achieved by a beverage-maker having the
      MACHINE WITH ACLOSABLE POURING                                 features of claim 1. Advantageous embodiments are defined
                  OPENING                                            in the dependent claims.
                                                                        The present invention thus provides a beverage-maker hav
                      TECHNICAL FIELD                              5 ing the following features:
                                                                        an upwardly open, Substantially cylindrical vessel made of
   The present invention relates to a beverage-maker having                a heat-resistant material, in particular glass, having a
an upwardly open vessel and a filterpiston arranged displace               vessel bottom and a circumferential side wall;
ably therein. Beverage-makers of this type are generally                a filter piston Vertically displaceable in the vessel, having a
referred to as plunger-filter beverage-makers or as “French 10             piston rod to whose upper end an actuating element, for
Press' beverage-makers. Beverage-makers of this type can be                example in the form of a knob, is attached, and to whose
used to prepare coffee, tea, etc. or to froth up milk, for                 lower end a plunger-filter is attached, which latter is
example.                                                                   Suitable for allowing the passage of liquid and, at the
                                                                           same time, for retaining Solids; and
                           PRIOR ART                              15    a lid, which is passed through by the piston rod and has a
                                                                           top wall which at least partially covers the vessel in the
   “French Press' coffee makers have long been known from                  upward direction and which, jointly with the vessel,
the prior art. These normally comprise a cylindrical glass                 delimits a vessel interior.
vessel, in which a filter piston is displaceably arranged. The          On the lid or on the vessel, outside the vessel interior, a
filter piston comprises a piston rod, to whose lower end a spout is configured. The lid has a pouring opening, which is
plunger-filter having a fine wire or plastics mesh is attached. disposed between the piston rod and the spout and breaches
The piston rod is passed through a lid which covers the vessel the top wall and which forms a connection between the vessel
in the upward direction.                                             interior and the spout in order to pour liquid out of the vessel
   In order to prepare coffee, for instance, ground coffee through the pouring opening by means of the spout. An elon
beans are poured into the vessel and poured over with hot 25 gated lever, extending above the top wall transversely to the
water. The mixture is left to stand for a few minutes. Next the      piston rod, is attached to the lid pivotably about a horizontal
filter piston is inserted into the vessel and pressed down. The axis. The lever has a closure body in the region of its front end
plunger-filter hereupon separates the ready-to-drink coffee for closing the pouring opening, and the lever has an actuating
from the spent coffee powder.                                        region in the region of its rear end for pivoting the lever, by
   For the pouring of the coffee, a beak-like spout is normally 30 virtue of pressure exerted by a finger of the user, from a first
configured on the upper rim of the vessel. The lid generally position, in which the closure body closes the pouring open
has as spray protection a circumferential skirt, which extends ing, into a second position, in which the closure body frees the
inside the vessel. In the skirt (generally slit-shaped) apertures pouring opening.
are present to enable the coffee to be poured out through the           In this way, a valve, which can be opened and closed very
apertures by means of the spout.                                  35 easily in a purposeful manner, is configured in the lid. The
   In order to avoid a situation in which a user, when pressing vessel interior is completely closed, as long as the user does
down the plunger-filter, can be scalded by spurting hot liquid, not deliberately actuate the lever in order to open the valve.
the apertures of the skirt are normally turned away from the An operating error, which could lead to splashing of the drink
spout as the filterpiston is pressed down and are only brought as the filer piston is pushed down, is thereby practically pre
into the region of the spout immediately before pouring. 40 cluded. It is ensured, moreover, that heat is not unnecessarily
However, a user can easily forget this. There is therefore lost through the pouring opening.
always a certain danger that either hot liquid spurts out               Heat-insulated coffee pots, whose lid contains a valve
because the user has forgotten to turn the apertures away from which can be opened by means of a lever mechanism by
the spout before pressing down, or that the ready coffee is pressure onto an actuating element located above the handle
spilt because the user, after pressing down, forgets to bring the 45 of the pot, are known from U.S. Pat. No. 6,755,120 or U.S.
apertures back into overlap with the spout and the coffee Pat. No. 6,997,104. However, these coffee pots are intended
therefore escapes unchecked between the vessel wall and the for filter coffee machines, in which coffee powder is filled
lid.                                                                 into a filter disposed above the pot and is poured over with hot
   U.S. Pat. No. 6,295,920 discloses a plunger-filter bever water which extracts the coffee and makes its way through the
age-maker, the spout of which is covered with a pivotable 50 filter into the below-situated coffee pot as the finished drink.
flap. This pivots upward during pouring by virtue of the The valve must here fulfill a dual function, namely, on the one
pressure of the escaping coffee and thus frees the spout. Such hand, to ensure the inflow as the coffee is brewed and, on the
a flap is unsatisfactory, however, since the flap, during the other hand, to enable the finished drink to be poured. These
pouring, is necessarily wetted by the coffee and the flow of the valves are consequently of relatively complicated design,
coffee thereupon changes, so that there is a danger of coffee 55 while the valve of the present invention, in comparison
dripping down from the spout during pouring, or Subse thereto, is very simply constructed. Moreover, these solutions
quently.                                                             are not transferable to plunger-filter coffee pots, since the
                                                                     valve, in the known pots, is arranged centrally and would not
          REPRESENTATION OF THE INVENTION                            allow a central piston rod to pass through.
                                                                  60    By the term “substantially cylindrical vessel' is meant that
   An object of the present invention is thus to define a the vessel, over a considerable part of its length, has a cylin
plunger-filter beverage-maker in which these problems are drical basic shape. The vessel can widen, however, for
avoided, which thus ensures spray protection as the plunger example in its upper rim region. The spout is preferably
filter is pressed down, combined with high operating safety, configured on the lid. If the top wall of the lid is disposed
without the risk of subsequent dripping. A further object of 65 sufficiently far within the vessel, however, it is also conceiv
the invention is to define a beverage-maker of this type in able to configure the spout on the vessel itself. The vessel can
which heat losses through the lid are minimized.                     optionally be held in a holder which at least partially encom
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passes the vessel and has a handle, as has long been known per can assume, in particular, the shape of a ring made of a softer
se in a wide variety of variants. However, the vessel can also material, for example silicone plastic, than the rest of the lid
itself have an integrated handle, which can be produced, for material, and can have a sealing lip extending radially out
example, integrally with the glass or plastics vessel.                ward. In order to facilitate the insertion of the sealing element,
   Preferably, the lever is spring-loaded in the direction of its the vessel can widen slightly at the upper rim.
first position in order to ensure that the pouring opening is            The top wall of the lid, which delimits the vessel in the
closed as long as the lever is not deliberately actuated. upward direction, is preferably configured substantially flat.
Instead, the lever can also be configured, however, such that In order to retain in the region of the pouring opening liquid
the pouring opening is closed solely due to the weight of the running back from the spout, in a region Surrounding the
lever and of the closure body, as long as no pressure is applied 10 pouring opening there can be configured an upwardly pro
to the actuating region.                                              truding retaining web, which, starting from the spout, extends
   Preferentially, for the generation of the spring force, a partially around the pouring opening.
compression spring is present. This is preferably disposed in            The lid is preferably of two-part construction, i.e. the lid
a rear region of the lid, facing away from the spout, between preferably comprises a lid bottom part, which forms the top
the lever and the below-situated top wall in order to subject 15 wall delimiting the vessel interior, and a separately config
the lever to a spring force in the direction of its first position. ured lid top part, which at least partially covers the lid bottom
However, such a spring can also be disposed in a region of the part and the lever. In order to guide the piston rod in as precise
lever, adjacent to the spout, between the lever and a lid region and vertically stable a manner as possible, on one of the lid
disposed above the lever.                                             parts, selected from lid bottom part and lid top part, there is
   Insofar as the compression spring is disposed in the rear lid then preferably configured a cylindrical guide sleeve, which
region, a cup-shaped depression (spring seat), extending is held in the other lid part such that the guide sleeve is secured
towards the vessel interior, is preferably configured in the top against a lateral tilting motion. The guide sleeve can be
wall, into which depression the compression spring extends. latched, in particular, to the other lid part.
In this way, the compression spring is secured against lateral           A simple design results if the guide sleeve is configured
displacements or even against falling out, and a sufficiently 25 integrally with the lid top part and extends vertically down
large spring length for the required spring travel is enabled.        ward into the vessel interior through the top wall delimiting
   In order to pass the piston rod through the lid, the lever the vessel interior, and if a releasable latching connection, for
preferably has a through opening, through which the piston example in the form of latching cams configured on the outer
rod extends. The lever can instead, however, beled around the         side of the guide sleeve and reaching under the top wall of the
side of the piston rod.                                            30 lid bottom part, is configured between the guide sleeve and
   The lever is preferably mounted on the lid, such that it can the top wall.
be pivoted horizontally, by means of bearing elements
directly connected to the top wall. The lever preferably has a                BRIEF DESCRIPTION OF THE DRAWINGS
bearing shaft extending transversely to the longitudinal direc
tion of the lever, for example in the form of a continuous pin, 35 Preferred embodiments of the invention are described
or two coaxially arranged, bearing journals extending out below with reference to the drawings, in which:
ward transversely to the longitudinal direction of the lever.            FIG. 1 shows a perspective view of a “French Press' bev
Forfastening, the lid then preferably has two mutually oppos erage-maker;
ing, jaw-shaped bearing elements for the reception of the                FIG. 2 shows a perspective view of the lid (in part) and of
bearing shaft or bearing journals, and the bearing shaft or 40 the filter piston of the beverage-maker of FIG. 1;
bearing journals, in Surmounting an elastic spring force, can            FIG. 3 shows a central longitudinal section in the plane
be clicked into the bearing elements. Simple manufacture and A-A through the beverage-maker of FIG. 1;
maintenance is thereby ensured. However, the lever can also              FIG. 4 shows a central longitudinal section in the plane
be pivotably mounted on the lid in another way, for example A-A through lid of the beverage-maker of FIG. 1;
via a shaft which is arranged centrally in an opening in the 45 FIG. 5 shows a non-central longitudinal section in the
lever and is inserted in a single, central bearing element, as is plane B-B through lid of the beverage-maker of FIG. 1; and
known perse.                                                             FIG. 6 shows a side view of the lid of FIGS. 4 and 5.
   In order to ensure an effective sealing of the pouring open
ing, the closure body is preferably made of a material which                        DESCRIPTION OF PREFERRED
is softer (on the Shore A scale) than the material of the rest of 50                         EMBODIMENTS
the lever. In particular, the closure body can consist of silicone
plastic. It is preferably inserted in an opening or recess in the        In FIGS. 1 to 6, a preferred illustrative embodiment of a
region of the front end of the lever, but can also, for example, beverage-maker according to the invention, in the form of a
be produced jointly with the rest of the lever in a two-com plunger-filter coffee pot, is shown in various representations.
ponent injection molding process. Where appropriate, the 55 The beverage-maker comprises a holder 1 made of plastic,
closure body can also consist of the same material as the rest a substantially cylindrical vessel 2 held therein, a lid 3, and a
of the lever and be produced integrally therewith, particularly filter piston 4. In FIG. 1, the vessel is represented as transpar
when, by the shaping of closure body and opening, an ent and consists, in particular, of heat-resistant glass; how
adequate seal is already ensured.                                     ever, it can also consist of plastic or metal, for example.
   The lid preferably has a circumferential skirt, which 60 The holder 1 comprises an upper holding ring 12, encom
extends vertically downward and extends into the vessel inte passing the sidewall 21 of the vessel, and a lowerholding ring
rior, as is already at present generally the case with the lids of 11, which merges into a base breached in the downward
commercially available plunger-filter coffee pots. In order to direction by a circular central opening. The holding rings are
create an effective seal between the vessel and the lid, on the       connected to each other by two longitudinal struts 13 extend
outer side of the skirt there is preferably disposed a circum 65 ing in the longitudinal direction of the vessel. Likewise con
ferential sealing element, which bears sealingly against the nected to the holding rings 11, 12 is a handle 15 for grasping
inner side of the side wall of the vessel. The sealing element of the beverage-maker.
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   The upwardly open vessel 2 consists of a slightly upwardly depression 324 and the spring seat 333, the spring is secured
arched bottom 22 and a circumferential side wall 21 of cylin against lateral displacements or even against jumping out.
drical basic shape. Unlike in most coffee makers of the prior           The lid top part 31 covers with its upper top wall 311 the
art, there is no spout configured in the side wall. The side wall upper margin of the side wall 327 of the lid bottom part 32.
ends approximately flush with the upper holding ring 12 of 5 Extending vertically downward from a central opening in the
the holder 1.                                                        upper top wall is a guide sleeve 312, which is produced
    Inserted in the vessel 2 is the lid 3. This is constructed in    integrally with the upper top wall and in which the piston rod
two parts and comprises a lid bottom part 32 and a lid top part 41 of the filter piston 4 is guided. The lever 33 and the lower
31. In FIG. 2, the lid top part is not represented. The lid bottom top wall 321 of the lid bottom part 32 respectively have a
part 32 has a substantially flat top wall 321, which largely 10 through opening, through which the guide sleeve 312
covers the upper vessel opening and, together with the vessel extends. The through opening in the lever 33 is here suffi
2, delimits a vessel interior 23. Configured in the top wall 321 ciently large not to hinder the pivot motion of the lever. The
is a pouring opening 37, which is discernible in FIGS. 2,3 and through opening in the lower top wall 321, by contrast, fits
4 and is there sealingly closed by a closure body 36. To the precisely with the guide sleeve 312. In the region of the lower
rear, the pouring opening 37 is Surrounded by a retaining web 15 end of the guide sleeve, a plurality of flat, spherical-segment
322, which on both sides ends at a beak-like spout 328 and shaped latching cams 315 are configured on the surface of the
thus prevents liquid which might run back from the spout in guide sleeve, which, following the insertion of the guide
the direction of the pouring opening from getting into the rest sleeve, form a releasable latching connection between the
of the lid region.                                                   guide sleeve 312 and the lid bottom part 32. The guide sleeve
    Starting from the top wall 321, extending upward on the 20 is thereby secured at two different vertical locations against
outer margin thereof, is a cylindrical side wall 327, which is lateral displacements, and thus against tilting motions.
interrupted by the spout 328 and by a recess for a lever 33.         Hence, on the one hand, the vertical guidance of the piston rod
Likewise starting from the top wall 321, a circumferential, 41 is improved, and, on the other hand, the risk of breaking of
cylindrical skirt 325 of somewhat smaller diameter extends the connection between the upper top wall 311 and the guide
downward into the vessel. Extending outward from the skirt is 25 sleeve 312 is reduced.
a pair of annular, mutually spaced webs, which form a seat              The filter piston has at the upper end of the piston rod 41 a
326 for a circumferential, annular seal 35 having a radially knob 42 as the actuating element. At the lower end, a plunger
outwardly protruding sealing lip. Hence, on the one hand, the filter 43 of a construction which is known perse is attached to
lid 3, having been inserted, is held relatively firmly in the the piston rod. The plunger-filter comprises an upper perfo
vessel 2 and, on the other hand, a seal is formed between the 30 rated plate 431, which at its upper margin is raised and is
vessel and the lid, which seal prevents liquid from possibly provided with a multiplicity of small openings. Through these
escaping between the vessel and the lid.                             openings, a toroidal wire coil 433 is threaded. A fine wire
   The elongated lever 33 is fastened pivotably to the lid mesh 432 rests on the bottom side of the perforated plate and
bottom part 32. To this end, it has on a central main portion is drawn upward over the wire coil 433. The wire mesh is
332 two laterally protruding, coaxial, horizontal bearing jour- 35 fixed in the downward direction with a star-like or perforated
nals 336, which are clicked into two jaw-shaped bearing plate-like fixing plate 434 placed beneath the wire mesh par
elements 329, which are open to the fore, i.e. in the direction allel to the perforated plate. With a common fixing screw 435,
of the spout 328. The bearing elements 329 are configured which engages in a check nut 436 (represented only in FIG.
integrally with the lid bottom part. The jaw opening is at the 3), the perforated plate 431, the wire mesh 432 and the fixing
front end somewhat Smaller than the journal diameter, and the 40 plate 434 are secured on the piston rod.
bearing elements are of slightly elastic configuration in order         The invention is not, of course, restricted to the above
to allow the clicking engagement.                                    example and a large number of modifications are possible. In
    In the direction of its front, spout-facing end, the lever 33 particular, for instance, the lever can also be designed differ
first has a contour which is pre-arched upward in the style of ently in terms of its shape and arrangement. For example, the
an arc in order to surmount the retaining web 322. In the 45 actuating region does not need to be disposed radially outside
following, front end region of the lever there is configured a the lid bottom part, but can also be situated within the lid
round opening, in which the closure body 37 is inserted. bottom part and be accessible from above through a cutout or
While the lever 33 itself, just like the rest of the lid, is made of opening in the lid top part. Of course, the plunger-filter can be
an impact-resistant and relatively hard plastic Such as, for configured in a different manner than represented above, for
example, polypropylene, the closure body 37 consists of a 50 example with a plastics mesh cast into a plastics frame, as is
relatively soft material, for example silicone plastic, in order known perse from the prior art. Instead of the vessel holder
to obtain a good sealing effect.                                     represented in the drawings, any other holder may also be
   At its rear end facing away from the spout, the lever 33 used, or the holder can be wholly dispensed with if, for
projects with an actuating region 331 from the lid bottom part example, the vessel has a molded-on handle. A large number
32 and can be pivoted slightly about its horizontal pivot axis 55 of further modifications are possible. In particular, the above
by virtue of downward pressure exerted by the thumb of the described embodiments of the lever and of the piston guide
user, so that the closure body 36 is raised from the pouring can, self-evidently, advantageously be used independently of
opening 37 and frees the pouring opening.                            each other and independently of further features.
    By means of a pressure-operated helical spring 34, the
lever is preloaded into the closing position. The helical spring 60                     Reference Symbol Table
34 is disposed in the rear region of the lever, facing away from
the spout, but still within the side wall 327 of the lid bottom 1 holder
part. It is accommodated in a cup-shaped depression 324 in 11 lower ring
the top wall 331, which depression allows a greater spring 12 upper ring
travel than would be possible without such a depression. In 65 13, 14 longitudinal strut
the upward direction, it reaches into an annular spring seat 15 handle
333 on the bottom side of the lever 33. By virtue of the 2 glass vessel
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21 side wall                                                               the elongated lever, by virtue of pressure exerted by a
22 bottom                                                                  finger of a user, from a first position, in which the closure
3 lid                                                                      body closes the pouring opening, into a second position,
31 lid top part                                                            in which the closure body frees the pouring opening.
311 top wall                                                      5     2. The beverage-maker as claimed in claim 1, wherein the
312 guide sleeve                                                     elongated lever is spring-loaded in the direction of its first
315 latching cam                                                     position.
32 lid bottom part                                                      3. The beverage-maker as claimed in claim 2, having a
321 base                                                             compression spring which is disposed in a region of the lid,
322 retaining web                                                 10 facing away from the spout, between the elongated lever and
323 opening                                                          the top wall in order to Subject the elongated lever to a spring
324 depression                                                       force in the direction of its first position.
325 skirt                                                               4. The beverage-maker as claimed in claim 3, wherein a
326 seal seat                                                        cup-shaped depression, extending towards the vessel interior,
327 side wall                                                     15 is configured in the top wall, into which depression the com
328 spout                                                            pression spring extends.
329 shaft mount                                                         5. A beverage-maker, comprising
33 closing lever                                                        an upwardly open, Substantially cylindrical vessel having a
331 actuating region                                                       vessel bottom and a circumferential side wall;
332 main portion                                                        a filter piston Vertically displaceable in the vessel, having a
333 spring seat                                                            piston rod to whose upper end agrip element is attached,
334 opening                                                                and to whose lower end a plunger-filter is attached,
335 curved region                                                          which plunger-filter is Suitable for allowing the passage
336 shaft                                                                  of liquid and, at the same time, for retaining Solids; and
34 compression spring                                             25    a lid, which is passed through by the piston rod and has a
35 sealing ring                                                            top wall which at least partially covers the vessel in an
36 stopper                                                                 upward direction and which, jointly with the vessel,
37 pouring opening                                                        delimits a vessel interior,
4 plunger filter                                                        wherein, on the lid or on the vessel, outside the vessel
41 piston rod                                                     30      interior, a spout is configured, wherein the lid has a
42 actuating knob                                                         pouring opening, which is disposed between the piston
43 filter plate                                                           rod and the spout in the top wall and which forms a
431 base plate                                                            connection between the vessel interior and the spout in
432 wire mesh                                                             order to pour liquid out of the vessel through the pouring
433 wire coil                                                     35      opening by means of the spout, and
434 fixing plate                                                       wherein an elongated lever, extending transversely to the
435 fixing screw                                                          piston rod, is attached to the lid above the top wall
436 check nut                                                             pivotably about a horizontal axis, the elongated lever
  The invention claimed is:                                               having a closure body in a region of its front end for
  1. A beverage-maker, comprising                                 40      closing the pouring opening, and the elongated lever
  an upwardly open, Substantially cylindrical vessel having a             having an actuating Surface in a region of its rear end,
     vessel bottom and a circumferential side wall;                       facing away from the pouring opening, in order to pivot
  a filter piston vertically displaceable in the vessel, having a         the elongated lever, by virtue of pressure exerted by a
     piston rod to whose upper end agrip element is attached,             finger of a user, from a first position, in which the closure
     and to whose lower end a plunger-filter is attached, 45              body closes the pouring opening, into a second position,
     which plunger-filter is suitable for allowing the passage            in which the closure body frees the pouring opening,
     of liquid and, at the same time, for retaining Solids; and        wherein the elongated lever has a through opening, through
  a lid, which is passed through by the piston rod and has a              which the piston rod extends.
     top wall which at least partially covers the vessel in an         6. The beverage-maker as claimed in claim 1, wherein the
     upward direction and which, jointly with the vessel, 50 lever has a bearing shaft extending transversely to the longi
     delimits a vessel interior, wherein the top wall has a first tudinal direction of the elongated lever, or two coaxially
     opening and a second opening, the first opening being a arranged bearing journals extending transversely to the lon
     through opening, through which the piston rod extends, gitudinal direction of the elongated lever, wherein the lid has
     and the second opening being a pouring opening,                 two mutually opposing, jaw-shaped bearing elements for the
  wherein, on the lid or on the vessel, outside the vessel 55 reception of the bearing shaft or bearing journals, and
     interior, a spout is configured, wherein the pouring open wherein the bearing shaft or bearing journals, in Surmounting
     ing is disposed between the through opening and the an elastic spring force, can be clicked into the bearing ele
     spout and forms a connection between the vessel interior mentS.
     and the spout in order to pour liquid out of the vessel           7. The beverage-maker as claimed in claim 1, wherein the
     through the pouring opening by means of the spout, and 60 closure body is made of a material which is softer than the
  wherein an elongated lever, extending transversely to the material of the rest of the elongated lever.
     piston rod, is attached to the lid above the top wall             8. The beverage-maker as claimed in claim 1, wherein the
     pivotably about a horizontal axis, the elongated lever lid has a circumferential skirt, which extends vertically down
     having a closure body in a region of its front end for ward and extends into the vessel interior, and on whose outer
     closing the pouring opening, and the elongated lever 65 side there is disposed a circumferential sealing element,
     having an actuating Surface in a region of its rear end, which bears sealingly against the inner side of the side wall of
     facing away from the pouring opening, in order to pivot the vessel.
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                                                        US 8,695,486 B2
                                                                                                     10
   9. The beverage-maker as claimed in claim 1, wherein the                  finger of the user, from a first position, in which the
top wall of the lid is configured substantially flat, and in a               closure body closes the pouring opening, into a second
region Surrounding the pouring opening there is configured                   position, in which the closure body frees the pouring
an upwardly protruding retaining web, which, starting from                   opening, the horizontal axis being arranged between the
the spout, extends partially around the pouring opening in                   closure body and the actuating surface of the elongated
                                                                            lever.
order to retain in the region of the pouring opening liquid             15.  The beverage-maker as claimed in claim 14, wherein
running back from the spout.                                         the elongated    lever is spring-loaded in the direction of its first
   10. The beverage-maker as claimed in claim 1, wherein the
lid comprises a lid bottom part, which forms the top wall 10 position.  16. The beverage-maker as claimed in claim 15, having a
delimiting the vessel interior, and wherein the lid comprises a compression           spring which is disposed in a region of the lid,
separately configured lid top part, which at least partially facing away from              the spout, between the elongated lever and
covers the lid bottom part and the elongated lever, and the top wall in order
wherein on one of the lid parts, selected from lid bottom part force in the directiontoofsubject          the elongated lever to a spring
                                                                                                  its first position.
and lid top part, there is configured a cylindrical guide sleeve        17. The beverage-maker as claimed in claim 16, wherein a
for the piston rod, which is held in the other lid part such that 15 cup-shaped     depression, extending towards the vessel interior,
the guide sleeve is secured against a lateral tilting motion.
   11. The beverage-maker as claimed in claim 10, wherein pression springin extends.
                                                                     is configured       the top wall, into which depression the com
the guide sleeve can be latched to the other lid part.                  18. The beverage-maker as claimed in claim 14, wherein
   12. The beverage-maker as claimed in claim 10, wherein
the guide sleeve is configured integrally with the lid top part the       lever has a bearing shaft extending transversely to the
                                                                     longitudinal    direction of the elongated lever, or two coaxially
and extends vertically downward into the vessel interior
through the top wall delimiting the vessel interior, and arranged                bearing journals extending transversely to the lon
                                                                     gitudinal direction of the elongated lever, wherein the lid has
wherein a releasable latching connection is configured two                 mutually opposing, jaw-shaped bearing elements for the
between the guide sleeve and the top wall.                           reception     of the bearing shaft or bearing journals, and
   13. The beverage-maker as claimed in claim 11, wherein         25
the guide sleeve is configured integrally with the lid top part wherein the bearing shaft or bearing journals, in surmounting
and extends vertically downward into the vessel interior an elastic spring force, can be clicked into the bearing ele
through the top wall delimiting the vessel interior, and ments.
wherein a releasable latching connection is configured 30 the19.             The beverage-maker as claimed in claim 14, wherein
                                                                         closure body is made of a material which is softer than the
between the guide sleeve and the top wall.                           material of the rest of the elongated lever.
   14. A beverage-maker, comprising
   an upwardly open, substantially cylindrical vessel having a          20. The beverage-maker as claimed in claim 14, wherein
      vessel bottom and a circumferential side wall; and             the  lid has a circumferential skirt, which extends vertically
                                                                     downward      and extends into the vessel interior, and on whose
   alid, which has a top wall which at least partially covers the 35 outer side there
      vessel in an upward direction and which, jointly with the which bears sealingly   is disposed a circumferential sealing element,
      vessel, delimits a vessel interior,                                                      against the inner side of the side wall of
                                                                       the vessel.
  wherein, on the lid or on the vessel, outside the vessel           21. The beverage-maker as claimed in claim 14, wherein
    interior, a spout is configured,                               the top wall of the lid is configured substantially flat, and in a
  wherein the lid has a pouring opening, which is disposed in region       surrounding the pouring opening there is configured
                                                                40
    the top wall and which forms a connection between the an upwardly             protruding retaining web, which, starting from
    Vessel interior and the spout in order to pour liquid out of the spout, extends     partially around the pouring opening in
    the vessel through the pouring opening by means of the order to retain in the            region of the pouring opening liquid
    spout, and
  wherein an elongated lever, is attached to the lid above the 45 running   back from the spout.
    top wall pivotably about a horizontal axis, the elongated the22.      The beverage-maker as claimed in claim 14, wherein
                                                                       lid comprises a lid bottom part, which forms the top wall
    lever having, in the region of its front end, a closure body delimiting    the vessel interior, and wherein the lid comprises a
    for closing the pouring opening, and the elongated lever
    having, in the region of its rear end, facing away from the separately
                                                                   covers  the
                                                                               configured lid top part, which at least partially
                                                                               lid bottom part and the elongated lever.
    pouring opening, an actuating surface in order to pivot
    the elongated lever, by virtue of pressure exerted by a                                 ck  ck  ck  ck ck
